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U.S. COURTS

GREGORY R. MARLOR
528 W. Grove St. Apt 407 MAY 20 2005
Boise, ID, 83702 Revd

208-608-0009 ~Srepune Time
Marlor1983ada@gmail.com CLERK, DISTRICT OF ono

UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO
SOUTHERN DIVIDSION

PLAINTIFF'S NAME, . Case No,, 1:25-CV-3-BLW

GREGORY R. MARLOR
vs. MEMORANDUM TO SHOW UNTIMELINESS IS

IS EXCUSED

DEFENDANT'S NAME,

ADA COUNTY

The Plaintiff was released from jail on May 4, 2021, and his charges were dismissed on June 9, .
2021, and he suffered from severe Long-COVID. In addition to his debilitating Long-COVID, Ada County Jail
Medical’s neglected his disability of incomplete paralysis and upon release he was wheelchair bound; he had also
just had a procedure done at the Spine Institute of Idaho for an injury to his back that occurred in April 2020, just
before he turned himself into jai!. Further, the jail did not give him his needed shots for rheumatoid arthritis when he
was released. The Plaintiff had lost everything except his car while in jail and it became his primary place to live. In
June 2021, the Plaintiff was checking into+ a motel and because of his medical issues, he had to contact emergency
services where blood clots were discovered in his left leg and right tung. He missed an appointment with his
rheumatologist shortly after checking into jail on June 5, 2021, and another appointment after his release from jail.
After spending a few days in the hospital to treat his blood clots he was transferred to rehabilitation where he could
work on strengthening his legs and trying to manage being in a wheelchair. The Plaintiff made an appointment with
the COVID Clinic but because he would have to remain in bed for the visit the appointment was cancelled. After
three weeks of rehabilitation, he was released, and he had made another appointment with his rheumatologist for the
following day. However, while being discharged he noticed his hand and arm were acting a little steange but did not

think much about it until that night when he had problems holding a cup. With stroke-like symptoms he rushed to

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the emergency room and afier a battery of tests the consensus was that he had a pinched nerve, and an appointment
was made with a neurologist. Consequently, he missed another appointment with his rheumatolopist, and he was
released as a patient. The clinic had been managing The Plaintiff's arthritis since 2015 when the doctor accepted his

rheumatologist’s referral out of Provo, UT,

It was the first of July when the Plaintiff was able to rent a motor home from a friend but until
then he had been living in his car and when his health permitted it his friend carried him into their motor home, and
he slept on their couch. He had met with his primary physician and reported his ongoing battle with Long-COVID
and that his rheumatologist had released him as a patient. At first, he seemed understanding and even issued Marlor
a one-month bridge RX and said that he would give him one more as soon he found a rheumatologist. The Plaintiffs
cognitive abilities and memory were a constant struggle, and he asked his insurance company for a case manager to
help with appointments and assisting is securing a rheumatologist. The Plaintiff had to go to the ER again with signs
of a stroke but again it was determined that his shoulder had a pinched nerve. He finally met with his neurologist,
and he was informed that he did suffer from a couple strokes. He also informed him that having blood clots in his
left leg and right lung meant that he had a hole in his heart. His search for a rheumatologist did not yield any
positive results. He was denied by one doctor on the premises that he had a history of incarceration. His case
manager had him meet with a panel of nurses and doctors and a doctor contacted his old rheumatologist to advocate
and see if he would accept the Plaintiff as a patient, but the doctor said no. The Plaintiff ran out of his bridge RX and
could net find a doctor in the valley that would take him. He had medical care coming to his motor home to treat a
wound on his foot, and as it was the trailer had steps and once, he was in the motor home he could get into his
wheelchair, but that only made it as far as the hall where he had ten feet length he had to traverse on crutches. It was
during one of these trips that he injured his toe, and it took several weeks of nurses to address his injury before it

healed up.

The Plaintiff's sister suddenly passed and because of his living conditions and the need to travel
across the state he was unable to make the trip to the funeral. His sister Deon was the first in his immediate family ta

pass and with his inability to repair the relationships with his family, the missed funeral further fractured and

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hindered repairing it anytime soon. In fact, he missed the funerals of two of his best friends while being incarcerated
and weighs on his conscience, but missing his older sister’s funeral brough on shame, disappointment, resentment,
confusion, and furthered his already troubled mental state. The Plaintiff's mother was the last person in his life to be
treated adversely but her being the only family member communicating with him, she was at the receiving end of hig
yelling and screaming outbursts. The Plaintiff was unknowingly unleashing all his anger, frustration, and confusion
on the only family member that would have anything to do with him. As soon as he was released from jail, he filed a
complaint with ACLU, DOJ, and Ada County Internal Affairs, and it was only with the help of two friends that he
was able to submit a somewhat coherent dialog of what transpired. His memory was not good and what information
that was there, he had a hard time articulating subject matter from his mind and putting it on paper. He alse gave
notice to Ada County Sheriff’s Office with his intent to sue; however, even with his friends’ assistance, what he
submitted was confusing and incomplete. The Plaintiff's brain fog, confusion, and memory issues were a part of the
notice’s deficiencies. Another part rests with Judge Hippler’s Order to suppress the evidence on the premises of an
illegal extension of the stop. Also related to the Court Order so suppress is that a good part of the Plaintiff's injuries
and the cause were still not known. This is due to the Defendant’s actions to remain conspiratorial and the legal

officials aiding in keeping those actions from surfacing.

As with the Plaintiff's notice of intent being convoluted with Judge Hippler’s bias Order and
saturated with Long-Covid deficiencies, his communication with potential law firms to represent him in a lawsuit
against Ada County contained the same flawed defects. However, the law firms’ rejections were not based on valid
state and federal case law and when the Plaintiff tried communicated that a criminal case and civil case cannot be
litigated at the same time and or that his case ended in his favor, their decision to represent him did change. He did
not have any case jaw, and he could not articulate law enforcements misconduct, Judge Hippler’s Order that was
based on illegally extending the stop, and the States dismissal. The Plaintiff received three referrals from the Idaho
State Bar and two ended as previously stated; however, the third agreed with him but had a conflict of interest. The
first two referrals milled over representing him for two months each before he received their denial, and they
referred him back to the Idaho State Bar. The third referral did what the first two did, and referred him back to the

Idaho State Bar, and agreed he had a case for malicious prosecution, but if would be a hard case to win;

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nevertheless, she had a conflict of interest and could not take the case. Further, she informed the Plaintiff of the strict
six-month statute to give notice of intent to sue before referring his case back to the Idaho State Bar, All three of the
State Bar referrals had permission to speak to John Baldauff to disclose his criminal case to aid him in deciding to
represent him. John Baldauff did not have Plaintiffs interest in mind while representing him before the State’s
charges were dismissed, in fact, just the opposite. When the Plaintiff submitted another referral, he was denied even
though his last referral agreed he had a case for prosecutorial misconduct. The reason given; he already had several
referrals in that area of law. The State Bars Lawyer Referral’s policies list several reasons why someone could be
denied another referral, and it also lists why one could receive another one and not be charged a fee; the reason he
was denied another referral was not listed, but a conflict of interest was. The Plaintiff left messages, voicemail, and
sent emails but they went unanswered; he could only ask why because none of it made sense. Nothing had made
sense since the onset of his case; his charges, defending his charges, and after his charges were dismissed. In fact, it
would be four years before the Plaintiff was confident in recognizing ali the Defendants and fully understanding

their actions and the injuries caused.

The Defendants’ conspiratorial and colluded actions fo stop, seize, arrest, charge, and convict the
Plaintiff without probable cause was the goal; and while maintaining the stop was lawful, evolved into suppressing
their misconduct and is prevalent from January 13, 2019, to May 9, 2021. Furthermore, and not as obvious, is the
judicial official’s clandestine actions to aid in the Plaintiff's conviction while suppressing law enforcement’s
misconduct. The Plaintiff was being defended by his third attorney during the first hearing to suppress and had
contracted COVID for the second time when he received Judge Hippler’s Order denying our motion. The Plaintiff's
memory of the hearing is limited but he knows out of the three attorneys, he is the only one that discovered law
enforcement’s misconduct. Furthermore, he discovered the missing OBVs and after watching the missing OBVs,
and the property contradicting the statement in the report about being contacted the night of the Plaintiff's arrest,
was enough to get another hearing, When the Plaintiff brought forward enough misconduct legal officials changed
their wanted disposition of a guilty plea to the new course of action was damage control and settling with an illegal
extension of the stop. In the hearing to dismiss or suppress, though not obvious but undeniable; the judge,

prosecution, and the Plaintiff's lawyer followed a format where questions that led to misconduct or conflict with

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their storyline were avoided, Further, in Judge Hippler Order to Suppress he states: “Additionally, Defendant argued
the evidence in the case was tainted based on inconsistencies in the dispatch report entries and Property Invoice.”
Further he states, “However, he conceded that this was not a proper basis for suppression or disrnissal.” This is a
prime example of legal officials conceding to gaining a guilty plea and settling for an illegal procedure as a reason to
suppress and keep as nnich of law enforcements’ misconduct from surfacing; Plaintiff would not have conceded to
let damaging evidence from being used. Further, the inconsistencies of the dispatch report entries and Property
Invoice proved that the evidence was not turned in and kept for over 24 hours. The very reason the video of the
booking deputy finding bath salt while processing Osterhout into the jail, did not contain an identifying label or
contents; only marked with “no redacts.” The Plaintiff's cognitive ability did not allow him to discover, process, and
articulate a good percentage the Defendants’ covert and colluded actions found throughout his case; not until his

brain fog started subsiding and other cognitive functions started returning to normal.

Throughout the incident of the night of the Plaintiff's arrest deputies muted their OBVs, destroyed
evidence, and utilized other departments and willing participants. The Defendants made every effort to keep the stop)
on January 13, 2019, from being known or part of the Plaintiff's prosecution. Especially that a Boise County
Sheriff’s deputy initiated or participated in the stop and that a dog was utilized and did “hit” on anything. Deputy’s
messages were fabricated to conceal and make it look as if the messages originated from Boise County Sheriff's
dispatch, and Ada County dispatch sent the message out. These tactics were not for law enforcement purposes, they
were interjected for the purpose of the Incident Detail Report and any concerning parties, as in judges, prosecutors,
and defendants. The Defendants went to great lengths to format and build a critical part of the case that will be —

utilized while being judicated; dispatchers and the critical information they are entering as evidence.

Almost every aspect ofa case relates back to the information that dispatchers supply into the
Dispatch CAD and in both Incident Detail Reports, information is interjected, manipulated, omitted; obscured, or
coded and available for law enforcement only. When the Incident Detail Reports are requested, the QUERY ran
omitted pertinent sections and therefore critical and revealing information is missing. Further, when Plaintiff

requests the omitted information, he is told the information has been purged and is no longer available, True or not,

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the missing information is unavailable and therefore biased to his civil case and the Defendants, original or new
willing co-conspirators control the narrative and critical evidence held or gone. Moreover, because the Plaintiff
discovered exculpatory OBV, a motion was submitted for an additional ICR-16 and it listed specific items included
any outstanding OBYs, a chain of evidence, any confidential informants, and how and who accessed the iPhone. In
addition, the Plaintiff specifically requested the Vehicle Position History (VPH) of all the vehicles, and
corresponding deputies dispatched to the Plaintiff's arrest location. Furthermore, his lawyer gave a copy and
received the Plaintiff's approval to file the ICR-16 with the Court. However, while reviewing the files of his case he
received from his lawyer finds two copies of the ICR-16. Both copies that were filed with the Court did not contain
the requests for VPH and radio chatter; VPH and radio chatter would have ended the State’s case and removed any
doubt about the Defendants’ misconduct. Even though the Plaintiff specifically requested those two items be
included and were included in the copy he had given to him while in jail but omitted prior to filing them twice with
the Court. By the time the additional evidence was turned over to the Plaintiff, legal officials were in the mede of
damage control and settled on a procedure vielation for “illegally extended the stop.” This disposition kept law

enforcement’s misconduct suppressed and the State’s charges were dismissed.

The Plaintiff wanted a data dump performed on his phone and his lawyer could not get him to
plead guilty, so he motioned the Courts to recuse himself from the case. The judge allowed the Plaintiff's lawyer to
recuse himself after defending him for nine months and at a hearing where the Plaintiff had to waive his rights to a
speedy trial. When the Plaintiff said he would like to confer with his lawyer before waving his rights, the judge gave
them three minutes out in the hall. After the Plaintiff had plead not guilty, waved his rights to a speedy trial, and had
been fighting his case for eleven months, he misses Court and after writing an apology letter to the Court, he turns
himself into jail and the judge gives bim an additional bond amount of $45,000, a curfew from eight to cight, UAs,
ankle monitoring at the cost of $230 a month, and cannot leave Ada or Boise counties. The Plaintiff's was not only
fighting the States cases against him, but he was also fighting a judge and prosecutor to remain free. The Plaintiff's
efforts to be free while against his charges, and for reasons that he had no control over, kept draining his limited and
fixed income. After not accepting the State’s offer to accept a plea bargain, and wanting a data dump on his phone,

his lawyer submitted a motion to withdraw from the case, after nine months of fighting his case and at the hearing to

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waive his rights to a speedy trial, the judge allowed him to withdraw, and he was assigned a public defender. Eleven
months into his case the Plaintiffs missed court and he wrote a letter to the judge apologizing and turned himself
into jail. To get out of jail he had to post another and higher bond and agree with pretrial release stipulations, he
missed one UA and was called back into Court, threatened to have his bond revoked by the owner of the busimess
overseeing his ankle monitor, tried for months to help figure out why his ankle monitor would not charge, traveled
almost seventy miles to take a UA during home isolation for COVID, had problems producing for UAs because of
his disability, fell and hurt his back because his leg got tangied with his ankle monitor and received medical care that
ordered home convalesces and referrals, had trouble fulfilling referrals because provider was not meeting in person
because of COVID, Court being held without being notified and was conducted by video and warrants were issued,
requested and sent medical excuses and referrals to ankle monitor owner and toid they would be submitted to the
appropriate department, and to get his medical excuses for not making his UAs to the judge, he sent it to the judge’s
clerk. One would believe that medical documentation that excused the individual from complying would be

sufficient, not in the Plaintiff's predicament.

The first time the Plaintiff contracted COVID-19 the test resulted in a false negative. He had been
to the jail medical several times and complained about unknown symptoms that seem led to be affecting his eyes,
ears, and some other issues; all were new to him and hard to explain. When he finally was tested, and the results
were a false negative; the Plaintiff's anxiety elevated because he did not know what was causing his symptoms and
medical believed he was creating a narrative to get him out of jail. Within hwo months the Plaintiff contracted
COVID again, but this time he had more common sympioms and after they faded his other symptoms evolved and
were more defined. For the next seven months he jail’s medical did everything but treat him for COVID-19. Even
after a managing nurse shared her story of contracting COVID-19 and her struggles and communicated that after
reviewing the Defendant’s charts, she was advocating that be be seen at the COVID Clinic where after spending
$12,000 trying to find out what she was suffering from, she found help. Her assessment was on Super Bow! Sunday
and for three more months the doctor or any other medical staff acknowledged the nurse’s assessment and that she
was advocating him being seen by the COVID clinic. The Plaintiff believes that the doctor and administration did

not want to set a precedence where inmates with post COVID symptoms were evaluated outside of jail medical. It

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was a calculated and acceptable expenditure for the jail to take the Plaintiff to three eye specialists than set a
precedence of unknown number of inmates being evaluated by the COVID-19 clinic and potentially responsible for
a staggering number of medical charges. Therefore, the Plaintiff's debilitating Long-COVID went ignored and
unassessed even though he begs and pleads for medical help; even so as describing his inability to move a peg while
playing with cribbage. Spanning from when he first arrived at the jail through when be contracted COVID to when
he got out, the Plaintiff's medical kites changed and reflected his cognitive abilities, concerns, helplessness, and to
when physically and mentally gave up. This is evident as his spelling and sentence structure digressed in his barrage
of medical kites; that is if he was unable, and another inmate assisted. Due to medical secking other avenues to
address his obvious COVID symptoms because of cost, the Plaintiff's frustration had peaked and his physical and
mental had deteriorated and to save what was left he succumbs to withdrawing and mentafly shutting down by
forming a protective mental blockade. The last hearing was to get a medical furlough to visit his primary physician,

but Judge Hippler had made a decision and agreed with the Plaintiff and gave him a release on own recognition.

With the direction of his last referral and the help of a couple friends he gave notice of intent to
Ada County Sheriff, and he met with a new provider that focused on a referral to a rheumatologist for his arthritis
and getting him vaccinated for COVID so he could visit his parents that were both in their mid-cighties of age. His
provider and himself talked had conversations about his Long-COVID symptoms, but the consensus of healing and
recovery would come with time, but most concerning was memory and diminished cognitive abilities. With the
trauma extracted on him from medical professionals, the Plaintiffs trust was limited. His mental state and his
cognitive processing and abilities started improving at the beginning of 2023; however, the fullness and the
realization of how far his mental state had regressed was not known until June and July of 2023. With his memory
starting to come back, his body reacted adversely, and he started having severe headaches, the cause was unknown.
He couldn’t sleep, anxiety elevated, and fear because he had never endured headaches like these in the past. The
Plaintiff had several conversations about his Long-Covid lingering symptoms, and they included isolation, anger, leg
cramps, anxiety, tiredness, loss of empathy, and one of the more concerning was memory loss and cognitive
processing; however, headaches were one of them but not this severe and not in the frontal lobe. His provider

ordered a study, and the results were a small enlargement of his pituitary gland, not the cause of his migraines. The

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only conclusion the Plaintiff could reason is with his brain fog diminishing and his memory of the fast four years
returning, his body was adversely reacting. He stopped working on his case and the headaches slowly diminished
until they were gone, However, another ailment from the trauma started so coming to light. Symptoms of Post

Traumatic Stress Disorder were surfacing and even though there had been signs they were now front and center. The
Plaintiff was dealing with anger, isolation, night sweats, paranoia, and tantrums reliving traumatic events filled with

endless begging and pleading and in retura he was mocked and ignored.

Law enforcements’ misconduct may have erected the Plaintiff's illegal charges, but it was the
Plaintiff's unwillingness to accept those charges and plead guilty that spawned the need and addition of legal
officials and judicial oversight, that employed illegal strategies and misconduct to steer the Plaintiff's case to a
needed outcome. The misconduct in the Plaintiff's case is an introductory te a much broader and more significant
issue and if not eliminated, would expose a critical functioning job of Ada County Sheriff’s Office, and that is to
collect, secure, maintain, document, and transport evidence back and forth from the Courts Evidence comes from
throughout Ada County and can include trials that have been moved to Ada County for judication. When the
Plaintiff looks at the totality of his case, how it evolved, who was involved, when they signed on, why they signed
up, and what happened before and after the charges were dismissed; he determines that his case and the adverse
implications for not only Ada County Sheriff’s departments within, but the State of Idaho and the Ada County
Judicial system; was the core cause and the reason for extraordinary tactics and extreme acts of judicial oversight
and misconduct. It was in simplicity that compounded and complicated; and it was all because the Plaintiff, at every
juncture did the opposite of what the Defendants needed for past aud present concerns to disappear. In fact, the
Plaintiff's actions not only complicated law enforcements illegal acts of misconduct that constructed the State’s
case, but his actions were also on the brink of a damn breaking and causing Ada County Sheriff’s and the State’s
Judicial system from imploding; “Extraordinary limes require extraordinary measures.” The problem for the
Plaintiff, he was unaware his actions of none-compliance was the driving force behind “extraordinary measures” of
misconduct, and while trying to meet the unreasonable demands and illegal conditions of the Court, he was enduring
more injuries, and it wouid be years before discovering confusing snippets of misconduct. Further, with the Plaintiff

being judicated by a judge that aligned with law enforcement’s goal of having him plead puilty; and him not

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changing his course, was causing the Defendants to inflict more injuries, and even more years of not knowing his
injuries and their cause. This sought after ending kept law enforcements’ misconduct from surfacing, but also the
misconduct connecied to more significant problems of misconduct, in several departments within the Ada County
Sheriff's Office. If discovered, it could result in potentially having thousands of pasts judicated cases and the
evidence utilized; reviewed, questioned, and consequently lead to the dismissal of an insurmountable number of
cases; in addition, grounds for defendants to appeal their case and reviewed by the higher courts, Therefore, it is
unknown by the Plaintiff where law enforcement’s misconduct ends or where judicial official’s misconduct starts,

for that matter, whether the illegal acts of misconduct by law enforcement or judicial officials have ended.

Mitchell Aguilar laughed when the Plaintiff said, “What they did was entrapment.” He then said
that he did not think there had ever been a case judicated in Idaho with accusations of entrapment. He missed two
court dates and received a DUI while representing the Plaintiff. He tried extensively to get the Plaintiff to change his
piea and even though the Plaintiff wanted to hold his preliminary hearing, he decided to go along with his lawyer
and waived it. Then it was time to enter a plea in District Court, and the Plaintiff was adamant that he was not going
to accept the State’s plea bargain and plead guilty. After leaving Court Michell was giggling and the Plaintiff wanteq
to know what was going on, he sat down on the bench and informed him, “I think you pleading not guilty was the
right thing to do.” He said he received an email from the prosecution this tnorning and it said, “Its highly suggested
that Marlor accepts the plea deal.” The Plaintiff informed Mitchell that he was sent to Aloha Gardens so they could
do what they did to him and he wants a data dump performed on his phone. Also, he wants him to contact both Taz
and her sister TF, he believes TJ was never at Aloha Gardens and was only a ruse to get him to the location, they
were waiting for him. Fle also informs him that Taz had requested him to give her and JT a ride as they were
walking somewhere in Caldwell. From this point on Mitchell did nothing for the Plaintiff and in the end, did
nothing for the Plaintiff but appear in Court, especially after not pleading not guilty and giving him a list of things
he needed done. The Plaintiff was frustrated with Mitchell because he was unable to contact Taz or her sister and
implies the cost of a data dump and trial would be high. He said that if that is the path he wanted to take, then he
would submit a motion to the judge to recuse himself from the case, The Plaintiff explained that money was not an

issue here, but he wanted to be represented, but if he recused himself from the case, he would be given a public

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defender and then the state could pay for the data dump. The Plaintiff never thought Judge Hippler would let him
recuse himself, not nine months into a case and at a hearing that was for the Plaintiff te waive his rights to a speedy

trial; wasted resources.

In retrospect, the State had Plaintiff's phone and when the Plaintiff had John Baldauff request a
data dump, the State performed the data dump and therefore the Plaintiff was not charged. However, the Plaintiff's
expert witness only received a partial data dump, and he now questions the procedural and ethical and legal
standards in place for when a data dump is performed and the need for an independent extract of data, especially

when law enforcement possesses the only means possible to extract data from an iPhone.

\Letting Mitchell Aguilar recuse himself from a case where he had been representing a client for
nine months was the first questionable decision that Judge Hippler made and literally confused the Plaintiff, it was
like flushing time and money down the toilet. In retrospect, it was made for reasons and was the perfect move for the
Defendants’ because Mitchell was not getting the Plaintiff to plead guilty, valuable resources had been utilized, and
now he was represented by a public defender that could steer the Plaintiff in the direction of pleading guilty while
playing the rote of defending him. The next hearing David Lorello played his part by informing the Judge that there
were good grounds for suppression hearing, it was status hearing. Nothing happened in the Plaintiff's case and
another hearing was scheduled three days before Christmas, almost eleven months after being charged, and it was
another status hearing. Not one call, net one conversation about what was happening, a direction, complete silence

from his new defense attorney.

The Plaintiff had been out ail night looking for his new puppy that had ran away the night before
Court and arrived at his place in Horseshoe Bend at eight in the morming and ate a cube steak his roommate had
cooked the night before and about ten minutes aiter he laid down and informed hts roommate he had Court at 4:00,
he remembers saying he did not feel good, he did not feel good at all. She woke him up at 4:30 and she had made
sure that there was not lime to call anyone and that he would have a warrant. The Plaintiff looks back and knows

that she was working with Ada County Sheriff's detectives, and missing his Court would surely put him in jail and

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would be an incentive to plead guilty. The first person he called was his bondsman, the next was his public defender
and he did not answer so he left a message. The Plaintiff knows that he was drugged, would shortly have a warrant,
communicated to his family, close friends, and his bondsman that he was drugged. The Plaintiff wrote a letter to
Judge Hippler and apologized for wasting the Court’s time. Nevertheless, Lorello said the only way to resolve the
matter was to turn himself into the jail and he met with his bondsman, and she took him to the jail and dropped him
off. The plaintiff ran his phone dead while waiting for a guard, finally a guard showed up and escorted him through
a back door and into the receiving port and into a wheelchair. He was then processed and the fast thing he requested
was an iPhone charger so he could charge his phone enough to retrieve some numbers. He sat in jail for three weeks
before going before Judge Hippler, and after being transported to the courthouse, and while waiting for Court, David
Lorello met with him and he explained that he had been drugged by his roommate and by the time she woke him up,
he had missed Court, it was too late. David said, “I’m not telling the Judge that.” Judge Hippler ordered the Plaintifi
to pay an additional higher bond of $45,000, a curfew from 8pm to 8am, community monitoring consisting of UAs,
GPS monitoring costing $230 per month, and at first could not leave Ada Count until the Plaintiff informed Judge
Hippler he lived in Boise County, and it was added. Judge Hippler was trying to ensure that the Plaintiff remained in
fail and if he did post bond, he would not be retaining a new lawyer and if he did, the Plaintiff was going to have

issues staying in compliance.

_ The Plaintiff missed a UA by one minute and David Lorello called him and informed him that
Court was being held because of the UA he missed. Judge Hippler informed him that unless he followed the
conditions of his bond, he would be sitting in jail through the COVID pandemic. The Plaintiff's spinal cord injury
hindered his ability to produce an on spot sample and he explained this to the tech, and he said that one or two is not
going to make a difference and that there was no way to communicate why that the judge and prosecutor would see
missed UA. Then the Plaintiff was having issues with his ankle monitor and getting it to charge. He went through
several chargers, several GPS units, and worked extensively trymg to figure out the root cause; all this while being
threatened that they were going to submit to have his bond pulled, After driving down to Boise to meet Angela he
txt her and she replied that they would have to meet the next day she was in Nampa. The Plaintiff was frustrated and

then fo complicate an already burdensome relationship his leg got caught with the ankle monitor and caused him to

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fall backwards into a chair. Because of COVID, and information to stay away from ERs, the Plaintiff finally makes
it down to Boise to receive treatment, After imaging, the doctor at Urgent Care orders home convalescence and
referrals te a neurologist and orthopedic surgeon. Fulfilling the doctor’s orders was the fact that Urgent Care was ou
of the market so his provider and the doctor at Urgent Care had to convers and the Plaintiff’s doctor would have to
order referrals. With the problems with Idaho Ankle Monitoring, his landlord, Judge Hippler, and him having a
public defender he knew he had better retain another lawyer and one call the lawyer said he had warrants for missing
Court and not complying with pretrial services. The Plaintiff had no case manager, so he asked Idaho Ankle
Monitoring to submit his doctor’s order to the Court, she said her mom would submit them to the appropriate
department. He waits a week and then contacts the clerk, but the warrants were still active and far as she knows
there has been no documentation submitted. He then emails the doctors’ referrals and other documents, and she

informs him that the judge, prosecutor, and his lawyer would receive a copy.

The Plaintiff waited over five days and called the clerk again and she informed him that the
warrants were still valid. The Plaintiff had to turn himself into jail again. When the jailers were assisting him out of
the car because they were not going to remove the handcuffs, they aggravated his back injury and caused him severe
pain and he was unable to get out of bed and had to use a urinal; he also missed cout due to pain and not getting out
of bed, After showing symptoms for COVID he was tested and resulted in a false negative and this started a vicious
cycle of unknown symptoms and the cause. Then in September he had symptoms of COVID and this time the results
were positive. The plaintiff was sick but after the COVID signs had subsided he was left with post COVID
symptoms that were debilitating and changed his life and has yet to fully recover, The Plaintiff's symptoms include
brain fog, confusion, memory, cognitive processing, critical thinking, headaches, loss of empathy, taste, smell, leg
aches, loss of energy, and others. The Plaintiff believes his symptoms and their severity are linked to an RX for
Enbrel, and the medication’s reactions to his body. Five different jail medical professionals sent recommendations tq
administration and Judge Hippler for his release; even mentioning Enbrel and it is making him more susceptible to
infection and complicating treatruent if he contracted the disease. Medical informed the Plaintiff that if he was not
happy with the medical treatment, he was receiving at the jail then he could get furlough to see his provider. These

tactics were no more than fo further the Plaintiff's helplessness because even after trying to make an appointment

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with his provider he was toid they were not meeting anyone in person and then when his mother made a virtual

appointment with his provider jai! security and medical denied facilitating the visit.

Judge Hippler, Anthony Klinger, and David Lorello held court without notifying the Plaintiff and
a month and a half prior notified him of court when he missed one UA. They collectively and purposely did not
notify the Plaintiff because they wanted him in jail where they could get him to change his pleading to guilty.
COVID home isolation ended on Friday and the following Monday the hearing was held to revoke his bond.
Further, court was facilitated by video and the Plaintiff could have attended Court while at home and explained that
he had a fall that injured his back and after the doctor reviewed images, ordered referrals and home convalesce. The
Plaintiff made sure they received the doctor’s documentation, but his path had already been decided. The Plaintiff's
health was of no concern to these legal officials before or after checking into jail. In fact, the Plaintiff was made to
go where COVID thrived, and he was sure to contract the deadly and debilitating disease; him losing his life would
be an uneventful ending to case containing a link between the misconduct in his case and the evidence room and its
contents being compromised. If it is known that the Plaintiff's evidence was and can be compromised, then what
other evidence has or was compromised to those individuals wiiling to break the law. The implications and
consequences could affect thousands of cases, and the very reason Judge Hippler is at the forefront of suppressing
the misconduct and driving the Plaintiff to a colluded disposition of changing his pleading to guilty. As the Plaintiff
actions have not waivered and remained steadfast to fight the charges, the Defendants’ strategies and tactics become

more sinister and desperate; even more so when the judicial officials get involved.

When Mitchell Aguilar’s efforts to get the Plaintiff to plead guilty failed and it is known that he
wants to have a data dump performed on his phone, the Defendants knew their best position was to take away his
freedom, The detectives utilized a confidential informant to drug the Plaintiff, and he missed court. Judge Hippler,
even though the Plaintiff had been fighting his case for | 1 months and surrendered himself to jail, gave him an
additional $45,000 higher bond, and ankle GPS monitor at $230 a month. Who knows, with the tactics already
employed, maybe the GPS monitor not charging was an additional strategy because even after turning himself into

jail and providing text messages proving he was going over and beyond trying to get the GPS unit working and

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supplied documentation for his injury, his bond hearing was denied. The motion to suppress was coming up and so
was an opportunity do away with the discovery of misconduct, and that was an offer to plead guilty toa
misdemeanor, possession of paraphernalia and receive two years of supervised probation and follow the
recommendations of a drug assessment. The Plaintiff was adamant in his answer and said no, we are having the
hearing. Then the prosecution gave their answer to the motion to suppress on Monday and Johnathan came into the
jail to visit the Plaintiff just before midnight, the hearing was scheduled for the following day. The prosecutor said
something to the effect the front door to the business was open and a straw on the driver’s side floorboard opened
the scope to a drug investigation. Further, the State had made another offer and was now offering the same thing but
two years of unsupervised probation. The Plaintiff said no because he felt the case he had for the suppression was

solid and the evidence would be suppressed.

The Plaintiff felt the manner in how the proceedings were conducted during COVID violated his
rights to due process and even at that felt things went well. However, when everyone is on the State’s side and
suppressing the evidence did not earn the prosecution a win, even though at this point the misconduct would not
have occurred if the evidence had been suppressed, Judge Hippler did net find suppressing the evidence was
warranted. No question Johnathan Baldauff had signed on to the other side by then because in the motion it covered
Deputy Hessing giving the order for the Plaintiff to out of the car for a dog sniff, and that was over thirty minutes
into the stop. Conveniently, he did not start his OBV until after the conversation that led to the exit order and the
order had taken place. Further, the conversation was on Deputy Levis’s OBV, but Baldauff did not submit her OBV
for review and Judge Hippler ignored the whole conversation. Of course, the Plaintiff had been relying on a defense
lawyer that did not have his best interests in mind and would later discover hwo videos that had not been turned over
to the Plaintiff. By the time the hearing had concluded the Plaintiff had contracted COVID twice and was having a
difficult time dealing with new symptoms from an unknown source. This is when the Plaintiff wanted to come ont
and say they planted the evidence, but Baldauff was adamant that he may have to plead guilty to the charges and if
he went down that path then Judge Hippler would hand down a stiffer sentence. It took Judge Hippler three months
to give his finding that suppression was not warranted. With no one on the Plaintiff's side and everyone making

little adjustments of omission, a couple of videos not turned over, a line of questions not pursued, and someone else

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would feel the futility of pushing forward and folding was the only option. However, the Plaintiff delved into his
Discovery and discovered tvo OBVs that the Defendants had kept from him. With that and him knowing that the
Defendants had constructed everything that led to him being charged he advised his lawyer to contact the property
owner and contradict Deputy Kastler statement that the property owner had been contacted after midnight the
morning of his arrest. Then he reviewed Deputy Piccola’s OB, and he found him covering up his OBV when a
figure appeared by the shop that they later report had an open door and the reason for expanding the stop for a
burglary investigation. He found the sign that read Warning 24-hour video surveillance, and that the pictures did not
add up to when the pictures of evidence were taken and the time the dispatch logged them off scene and arriving not
at the jail, but at dispatch in Meridian. Further, the bath salt found on Osterhout was on the same evidence sheet that

was submitted and logged into evidence at 1:35 but Levis was taking pictures of at 4:43 am.

With all the evidence being discovered by the Plaintiff, Badauff was gearing up for the
Plaintiff to change his pleading and be sentenced and move forward and appeal the case. The Plaintiff was frustrated
with him and was speaking to another lawyer but because of COVID he was unwilling to come to jail and take him
on as a client. He asked the lawyer what he needed to do and was told that due to new evidence, submit a motion to
reconsider. He communicated this to Baldauff and said he wanted a data dump performed on his phone. At every
juncture in the case and move the Plaintiff wanted to make or made, it was countered, or the outcome fell
incomplete, if not omitted in its entirety. The Plaintiff was up against a collusion of iaw enforcement and legal
judicial officials but for all the efforts the Defendants put forward, he held his ground and withstood the jail’s
medical’s discriminatory actions and medical ineptness; even so as a managing nurse advocating for him be seen by
the COVID Clinic. The Plaintiff's Discovery was missing several pages, and he never received the sheet of evidence
and property that was submitted to the evidence room; illegally, the evidence went home with the Defendants. At the
hearing to reconsider the deputies purged themselves on the stand and even though Detective Montoya testified he
was only able to get a partial data dump, he was firm no one accessed his phone. For Judge Hippler to take the
position and say that by law, there was no evidence presented that any law enforcement illegally accessed the
Plaintiff's phone; the Plaintiff received his phone and found evidence that his phone was accessed on January 31,

2019, The Plaintiff also discovers his expert witness states that he knows that the iPhone was accessed, but he would

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need the full data dump to know what was done after it was accessed. Baldauff, Anthony Clinger, Detective
Montoya, and Judge Hippler controlled the narrative and nothing that came out in the hearing was valid. In fact,
Anthoney Clinger was on his computer communicating with someone, most likely Detective Montoya, that was
feeding him technical questions and making the expert witness’s testimony seem insignificant and minor league.
Moreover, with Baldautf in collusion with the Defendants, there were no meaningful questions asked that would add
credibility or substantiate to the Plaintiff's expert witness or discredit Detective Montoya dialog; a pertinent question
would have been how he can conclude the iPhone was not accessed with only a partial data dump? Another
significant move was for Baldauff to remove two items from the second supplemental discovery request that the
Plaintiff requested; the VPH for all the units and deputies radio chatter that was dispatched to the Plaintiff's arrest

location.

The Plaintiff canmot emphasize how much control the Defendants possessed in controlling the
narrative, the evidence, the testimony, and how biased Judge Hippler was when writing his order that suppression
was not warranted, and the order to suppress that concluded the second hearing, where he had to go back and
suppress the results from the first hearing, Where the Defendants had most of the control, the Plaintiff possessed
very little, but it is what he did with it that imploded the Defendants’ collusion and exposes Ada County Sheriff's
department wide illegal, unethical, and procedure inefficiencies. With law enforcement’s far reaching, tightly united
goal orientated, knowledgeable, and available resources; and combining legal officials’ influential, powerful, and
long-established history they become an almost indestructible. However, even when up against the Defendants’
combined and powerful coliusion; the U.S. Constitution and the power it grants We the People, will not be denied.
For the Plaintiff, and because of his inalienable rights, he was able to retain and withstand the unconscionable,

wanton, tyranny driven, and outrageous acts that were committed against him while tasseled in the color of law.

While the Plaintiff was lying in bed and thinking about completing the Court’s request, he was
milling over the people involved and how things transpired, the lawyers that represented him and the lawyers that
would not look at the misconduct or sign up to represent him ina civil case against the Defendants; the whole case

suddenly made sense. And in a moment of clarity, the whole thing, everything made sense, everything happened for

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a reason, the Plaintiff just happened to do everything that nobody thought he would do. The Plaintiff thought that it
was all about covering up the misconduct that took place before and after his arrest. It may have started out that way
but with all the things that Judge Hippler did, some unconstitutional, some questionable, but to disregard the
Plaintiff's life to extract a guilty plea, is too much and another reason the Plaintiff could not get anyone but his
friends to see the injustice he faced while fighting the State’s charges for 28 months. In fact, until the Plaintiff
stopped talking about the 28 months of injustice, people questioned his sanity. The Plaintiff questioned his own
sanity because of the Defendant’s collusion and the tactics employed were only known to them, with a common
outcome, that was the Plaintiff pleading guilty. Meaning; all three defense lawyers, the prosecutors, the judge, law
enforcement, and even his friends were participating with law enforcement’s collusion to charge him and eventually

with legal officials heip, to take his freedom to push him to change his pleading to guilty, because he was in jail.

Further, three defense lawyers not only did they not find any of the misconduct, but they also
sought out the prosecution’s goal, and that was for him to plead guilty. In Johnathan Baldauf’s case, the Plaintiff can]
now see why he said the things that he said, did the things he did and did not do, and was adamant when the Plaintiff
said that the methamphetamines was planted, “You don’t want to piss Hippler off, if you have to plead guilty, he
will make the sentence harsher.” There is no doubt now that Baldauff was communicating to the Plaintiff's referrals
and other law firms that were screening him to potentially take his case. Even the last referral from the Bar now is
suspicious because she would have checked for a conflict of interest from the start not after weeks of deciding
whether to take the case or not. The Plaintiff's believes his case will never be decided by a jury because there is too
much blatant misconduct, unless the jury decided how much to award him. The Defendants or Ada County will ever
want this case to be fully disclosed to the public. However, the Plaintiff knows that there is a need for the public to
know the fullness of the Defendant’s actions of misconduct. He also knows that there needs to be an accountability
office established within Ada County Sheriff's Office so there is some oversight so when someone files a complaint
that it is not handied only by Ada County Sheriff's Internal Affairs. The Plaintiff also believes there is a need to
establish civil centers throughout Idaho so someone that has been injured by State actors that they do not have to
seek out referrals from the Idaho State Bar because it is a conflict of interest and in the Plaintiff's predicament, he

was trying to get help from the very individuals that had injured him, or that they had licensed. The Plaintiff feels

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there is a need to file this memorandum under seal due to his safety and who the Defendants are and available
resources. He already knows the lengths they have gone and looking back at the only person that could say she was
never at Aloha Gardens and that is Taz’s sister TJ. Around the time the Plaintiff had Baldauff trying to contact TJ it
came to light she had died in an automobile accident with her fiancé. He had also heard some statements what she
was doing when they wrecked but the timing is suspicious and for the Defendants to have Taz testify that she never
had contact with law enforcement and that it was her sister was the reason why she sent the Plaintiff to Aloha
Gardens; just is not possible especially when Taz lied about her sister going to prison when he cannot find any
record of her ever being in trouble with the law. The Plaintiff knows that his ability to recognize the Defendants’
injuries and then articulate them is very difficult; especially trying to do it in a format for the courts. Plaintiff
requests that he be allowed te submit an edited and final complaint and that he appointed legal counsel to ensure he

has covered all his needed charges against they defendants.

The Plaintiff also believes the Defendant's played a huge role in the discrimination that has
afflicted him since February 16, 2022, when he was illegally denied federally funded housing in Boise Idaho. In
fact, the same time he was dealing with the repercussions of Ada County Sheriff's Medical and diminished cognitivd
abilities from COVID, The Housing Company felt the need to deny him housing and when he produced
documentation that they could have easily procured on their own, they used unlawful tactics and recertified him
replaced his one-bedroom with a studio and charged him $620 a month where he originally certified for $520. With
his cognitive ability not processing like it should, he could not see the discriminatory narrative he was living until
they kept denying him a transfer to a one-bedroom, and if there was going to be a transfer, he would be charged
hundreds of dollars more a month, Also, he was unable to articulate that it was not his criminal past that caused The
Housing Company to deny him housing, it was acts of discrimination against him of not wanting him to live at
Thomas Loga apartments or give him reasonable accommodation that was behind the acts of discrimination. He has
found no help from Idaho Legal Aid, Intermountain Fair Housing Council, HUD, Idaho Human Rights Commission,
and other disability advocating rights establishments and it stems from him not being able to articulate the
discrimination due to his Long-COVID and or they are biased and again, were at first motivated by the Defendants

in his Ada County Sheriff's Office lawsuit. Even though the Plaintiff has lived in a non-ADA studio apartment for

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over 3 years, the compliant he submitted with Idaho Human Rights Commission concluded and denied any

discrimination by The Housing Company, the Plaintiff filed a lawsuit, and it is pending review by the same courts.

From 2021 to present, the Plaintiff’s provider has and is addressing his Long-COVID symptonis
that include memory, cognitive processing, critical thinking, and other related symptoms. She also gave him a
referral to a mental health professional to address his PTSD and associated symptoms. The Plaintiff's sees the notice
he gave Ada County, he had to email it 7 times before he got it right, marked what little was known of the
Defendants’ injuries and how truly his COVID symptoms hindered him or rendered him incompetent, therefore the
time would be paused until the fullness of his injuries and their cause is known or tolled for a period of more than
six years. Even with the Defendants interfering with the Plaintiff's due process, he believes he is excused and or is
timely:

Under Statute 5-230

2. Insane. [5]
... folled for a period of more than six (6) years on account of minority, incompetency, a

defendant’s absence from the jurisdiction, any legal disability or for other cause or reason...

May 20, 2025

GREGORY ARLOR

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